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      August 9,2020
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                                                                                                   THOMAS G. BRUTOITI
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      I   ndependent Monitoring TeAm


      There needs to be a stop, to police brutality. Nothing has changed. lnstead of
      getting better under the Consent Decree, they are getting worse. Stop police
      brutality to women, and children now. lt is awfulthe way these big burly men,
      snatch women out of cars, stop them on the street, and throw them to the
      ground face down, put on handcuffs, and without cause. No child should be put
      on the ground face down, with handcuffs. These are not men, these are cowards
      abusing their authority. Running up to cars with their batons in the air, and
      breaking out car windows, is brutal and savage. This incident was totally uncalled
     for, putting a group of women in danger for no reason, except they wanted to
      cause harm. When there is absolutely no reason forforce, people should be
     treated like people, and respected as people. There was no reason in either of
     these given incidents, that if they had been police officers, they would have just
     walked up and explained whythey wereapproachingthese ladies. They could
     have been asked to stand on the sidg or against the car, on sit on the curb, or any
     more civilized approach than that was done by these police men. The police
     purposely cause their own problems because they are not trained in proper ways
     to treat people, or situations. They don't care about people's feelings, rights, or
      dignity. The chicago police department missed the majority of the consent
      decree deadlines in the first year. This means to the people of the city, that they
     don't care about the consent decree, and are either ignoring it, or they just aren't
     going to comply with it. They need now, more than ever, to reduce and prevent
     the need for force. They need more and better community policing. They need a
     functioning accountability system that is timety, consistent, and fairto all. They
     need to most of all, stop thinking force, and think, and train, for the sanctity of life
     forthemselves and all others.




     Clifola Coleman
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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

        STATE OF ILLINOIS,
                                                Plaintifl                    l:17-cv-06260

                                                                 Honorable Robert M. Dow Jr.
        CITY OF CHICAGO,
                                             Defendant.



       ORDER SETTING LISTENING SESSIONS AND WRITTEN COMMENT PERIOD ON
         THE CITY OF CHICAGO'S AND TTTE CHICAGO POLICE DEPARTMENT'S
         RE,SPONSES TO PROTESTS AND UNREST TINDER THE CONSENT DECREE

             As previously announced, the Court will convene listening sessions on August 19 and 20,
      2020, at 1:00 to 5:00 ppt via Zoom video conferencing-due to the COVID-19 pandemic-to
      receive oral comments from counsel and members of the public on the City of Chicago's and the
      Chicago Police Department's recent responses to protests and unrest under the Consent Decree.
      Before the listening sessions, the Court will receive written comments. This order sets out the
      parameters for presenting oral and written comments.

                                               STATEMENT

            On June 5, 2020, Monitor Maggie Hickey notified the Court that the Independent
      Monitoring Team will prepare a special report on the response of the City of Chicago (City) and
      the Chicago Police Department (CPD) to the protests and umest since the death of George Floyd
      in Minneapolis, Minnesota, on }day 25,2020.In preparing the report, the Monitor has been seeking
      and will continue to seek direct input from a variety of sources, including, but not limited to,
      members of Chicago's communities, the CPD, and other City entities. Under paragraph 667 of the
      Consent Decree, the Independent Monitoring Team will also coordinate and confer with the Office
      of the Inspector General for the City of Chicago (OIG).

              To assist the Court, the Monitor, and the OIG in assessing the City and the CPD's response,
      the Court will hold listening sessions, where members of the public may comment on the recent
      events. Like almost all court proceedings, these sessions will be held on the record and will be
      accessible by the public and the news media. In addition, the Court will invite written comments,
      also to be placed on the record and the public docket for this case. To ensure a fair and orderly
      process, any person or entity that wishes to provide oral or written comments must comply with
      the procedures set out in this order.

              Written Comments: Any person or entity that wishes to provide written comments may
      do so by filing their document-in letter or legal brief format-with the Clerk of the Court no
      later than Thursdav. Ausust 20.2020. at 4:30 rN{. Written submissions may be hand delivered
      or mailed to:
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Clerk of Court
United States District Court
Everett McKinley Dirksen Federal Building
219 South Dearborn Street, 20th Floor
Chicago, IL 60604
Re: State of Illinois vs. City of Chicago, Case No. l7-cv-6260

All written submissions will be fited on the Court's public docket in this case and therefore will
be publicly available through the Court's Electronic Case Filing system. All written submissions
must include the full, printed name(s) of the submitted person(s), but must not include addresses
because addresses will not be made nublic. Instead, the submitting person(s) full name(s) and
iddress(es) must be placed on the envelope in which the document is submitted, and the envelopes
will be filed under seal. No e-mails" telephone calls. or anonvmous submissions will be
accepted or considered.

        Oral Comments at the Listenins Sessions: The Court will hold listening        sessions on
Wednesday, August 19, and Thursday, August 20, between 1:00       pm and 5:00 rrrl each dav (with
occasional breaks). Given the current  public health emergency from the COVID-19 pandemic, the
Court witl host these listening sessions via Zoom video conferencing. See U.S. District Court for
the Northern District of Illinois, Fifth Amended General Order 20-0012: ln Re: Coronavirus
Covid-19 Public Emergency (July 10, 2020), available ar https://www.ilnd.uscourts.gov/-assets/-
docurnents/ forms/ clerksoffice/rules/admin/pdf-orders/FifthoZ20Amended%20General%20
Order%2020-00 I 2.Final.pdf.

        On the first day of the hearing, a representative from each of the Parties to the Consent
Decree-the City and the Office of the Illinois Attorney General-and the Coalition will be given
                              r
an opportunity to speak first. After the Parties and the Coalition speak, members of the public
will be given an opportunity to speak.

       Members of the public who wish to speak at the listening sessions may register for each
corresponding day using the following links (the Court and the Monitor will only use the
information gathered from the registration process to determine speakers and facilitate the listening
sessions):

        .    Wednesday, August19,2020, between 1:00 pv and 5:00 pu
                           ln.zoom.u     inar/resister/WN v8l                                   ETISobhY

        o    Thursday, August 20,2020 between 1:00 pu and 5:00 pvt
                   :llscht




1        The "Coalition" is defined as the plaintiff organizations in the Compbell lawsuit and the plaintiffs in the
Communities United lawsuit, as well as other civil rights and community organizations in Chicago. See Consent
Decree paragraphs 709. The Parties entered into a Memorandum of Agreement with the Coalition, which provides the
Coalition with certain rights under the Consent Decree. See id.
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        You may register for both days, but people who are selected will only receive one slot.
People may only register on their own behalf. Anyone who needs assistance registering may
contact the Independent Monitoring Team at contact@cpdmonitoringteam.com.

         People who wish to speak must register by 4:30 ptvr Wednesday, August 12, 2020. On
Friday, August 14,2020, the Monitor will notily people who have registered to speak via email
in regard to whether they secured a time slot. See below for more information on the process.
Anyone who registered to speak but could not be accommodated due to the number of requests
may submit in writing a copy of the remarks that they had planned with the Clerk-following the
instructions above-no later than 4:30 PM on Friday, August 2812020.

        Only a limited number of speaker slots will be available each day. To accommodate as
many speakers as possible" each speaker will be strictly limited to three minutes. Only one
person may speak during each time slot, except for interpreters who may join the speaker. If a
speaker requires an interpreter, the Court may adjust the speaker's time beyond the time limit, as
appropriate. If more people sign up to speak at the listening sessions than time permits, the Court
will randomly determine the speakers using a computer program. All speakers must state their
niunes, state any orgatization they represent (if applicable), and direct their comments to the Court.
The Court hopes to hear from everyone who registers to speak, but the hearing will conclude at
the designated time on both days even if all registered speakers have not been heard. In recognition
of the possibility that the Court will not be able to accommodate all potential speakers-some of
whom may not be available on either of the designated hearing dates-the Court has placed no
page limitations on the written submissions.

        Due to space limitations, people who do not have an opportunity to speak and/or who would
like to view the listening sessions may do so via live stream on YouTube. (People who wish to
speak at the listening session must consent to this live stream during registration.) Shortly before
each listening session begins on each day, people who register for the listening session-and who
do not receive a time slot in which to speak-will receive a link to the live stream on YouTube.
Likewise, shortly before each session begins, the Monitor will also post this link on the
Independent Monitoring Team website at https://cpdmonitoringteam.com/ for non-registrants. The
live stream video on YouTube will no longer be available at the conclusion of each listening
session. People may, however, order transcripts of the listening session from the US District Court
for the Northem District of Illinois at https://www.ilnd.uscourts.gov/transcript-order-form.aspx.

        Court Rules: Court proceedings may not be recorded, photographed, broadcast, or
transmitted. Proper courtroom decorum must be maintained at all times by the speakers. In fairness
to all speakers, any non-speakers (other than the judge) will be muted on the Zoom video
conference. The Court and the Monitor may remove anyone from the Zoom video conference who
violates the rules of the listening session.

                                  ACCESS COORDINATION

       Any speaker who needs accommodations must identify the need for accommodations
during registration. The Court has requested a Communication Access Real-time Translation
(CART) provider and an American Sign Language interpreter to be present during the listening
sessions. The Court is not authorized to provide foreign language interpreters at government
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expense in   civilcases. Any selected speaker who requires an interpreter may secure their own
intlrpreter, and have the interpreter join them during their presentation. Anyone with any questions
regarding these or other accommodations may contact the Independent Monitoring Team at
listeningse ssions@ cpdmonitoringteam.com.




 Dated: August 4,2020


                                                           Robert M. Dow, Jr.
                                                           United States District Judge
